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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


 IN RE:                                            CASE NO.: 24-21209-LMI

 SHIFTPIXY, INC.                                   CHAPTER 11

       Debtor.
 ___________________________________/



              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

       PLEASE TAKE NOTICE that undersigned counsel hereby enters her appearance in the

above-captioned case for the United States of America, on behalf of the Internal Revenue Service,

pursuant to Rule 9010(b) the Bankruptcy Rules of Procedure.

       The Clerk of this Court is requested to add the name and address of the undersigned to the

matrix of creditors prepared in connection with this case.

                                             Respectfully submitted,

                                             MARKENZY LAPOINTE
                                             UNITED STATES ATTORNEY

                                      By:    /s/Raychelle A. Tasher
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 22, 2024, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day by transmission of Notices of Electronic Filing generated by CM/ECF to
those parties registered to receive electronic notices of filing in this case or via U.S. mail as listed
in the below Service List.

                                                        /s/Raychelle A. Tasher
                                                        RAYCHELLE A. TASHER


                                             Service List


VIA CM/ECF Notice:

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                                                   /s/Raychelle A. Tasher
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